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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    JEANETTE BROCK,
              Plaintiff,

                   v.                                          Case No: 4:18-cv-00336-ALM
    CAPITAL ONE BANK (USA), N.A.,
              Defendants.


                                       ORDER OF DISMISSAL

           Plaintiff, Jeanette Brock (“Plaintiff”), and Defendant, Capital One Bank (USA), N.A.,

    (“Defendant”), having filed a Joint Notice of Settlement and the Court being otherwise

    sufficiently advised,

.          IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant are

    DISMISSED with prejudice. Each party shall bear their own costs and attorney’s fees.

           All relief not previously granted is hereby denied.

           The Clerk is directed to close this civil action.
            SIGNED this 8th day of April, 2019.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
